       Case 3:18-cr-00007-DHB-BKE Document 102 Filed 10/24/18 Page 1 of 1

                                                                          filed

                        UNITED STATES DISTRICT COURT                   AUijUSTA Oiy.
                       SOUTHERN DISTRICT OF GEORGIA               2018 OCT 2k PM 3" 07
                     AUGUSTA DIVISION and DUBLIN DIVISION

                                                                 CLERK
IN RE:                                                                SD.diS
                                            Case Nos.; CR116-079, M. Lambert
LEAVE OF ABSENCE REQUEST                               CRl 18-032, M. Williams
PATRICIA G. RHODES
November 8, 2018 through November 12,                 CR318-007, T. Coney, et. al.
2018




                                        ORDER


         Upon consideration of the Motion for Leave of Absence filed by the United

 States of America in the above-cited cases on behalf of Assistant United States

 Attorney Patricia G. Rhodes for the dates of November 8, 2018 through November 12,

 2018, for an out-                       same is hereby GRANTED.

         This                                       2018.




                                 DUDLEY H. BOWEN,JR.
                                 UNITED STAT^ DISTRICT COURT JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
